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 4

 5   Attorney for Defendant DANIEL ROSALES
 6

 7

 8                               IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                                      )   Case No.: S-07-165-LKK
11   UNITED STATES OF AMERICA,                        )
                                                      )   STIPULATION AND ORDER TO
12                  Plaintiff,                        )   CONTINUE SENTENCING
                                                      )
13        vs.                                         )   Date: October 14, 2009
     DANIEL ROSALES, et al,                           )   Time: 9:15 a.m.
14                                                    )   Judge: Lawrence K. Karlton
                    Defendant                         )
15                                                    )
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17          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
18   Sentencing scheduled for October 14, 2009 at 9:15 a.m. be moved up to September 29, 2009 at
19   9:15 a.m. in the same courtroom. Carolyn Delaney, Assistant United States Attorney, and Philip
20   Cozens, Defendant’s attorney, are requesting such scheduling change in order to reach an early
21   disposition of this matter at the defendant’s request.
22          It is further stipulated that Defendant need not appear in Court on October 14, 2009, but
23   must appear on September 29, 2009.
24          It is further stipulated that the period from the date of this stipulation through and
25   including September 29, 2009, be excluded in computing the time within which trial must
26   commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local
27   Code T4 for continuity and preparation of counsel.
28




                                      STIPULATION AND ORDER           -1-
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 1         IT IS SO STIPULATED.
 2

 3   DATED: September 18, 2009                     By:          /s/ Philip Cozens_______
                                                                PHILIP COZENS
 4                                                              Attorney for Defendant
                                                                BRENDA ALEXANDER
 5

 6
     DATED: September 18, 2009                                  LAWRENCE G.BROWN
 7                                                              United States Attorney
 8                                                  By:          /s/ Carolyn Delaney
                                                                CAROLYN DELANEY
 9                                                              Assistant U.S. Attorney
10

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13           IT IS SO ORDERED.
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     Dated: September 28, 2009
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                                 STIPULATION AND ORDER    -2-
